       Case 4:24-cv-02729-JST Document 20 Filed 07/03/24 Page 1 of 2




 1 SHEPPARD, MULLIN, RICHTER & HAMPTON LLP
   Harper Batts (CA 242603)
 2 hbatts@sheppardmullin.com
   Christopher Ponder (CA 296546)
 3
   cponder@sheppardmullin.com
 4 Jeffrey Liang (CA 281429)
   jliang@sheppardmullin.com
 5 1540 El Camino Real, Suite 120
   Menlo Park, California 94025
 6 Telephone: 650.815.2600

 7 Facsimile: 650.815.2601

 8 Attorneys for Defendants
   Visionox Technology, Inc. and
 9 Visionox America, Inc.
10
                                 UNITED STATES DISTRICT COURT
11
                               NORTHERN DISTRICT OF CALIFORNIA
12
                                         SAN JOSE DIVISION
13

14
   SEMICONDUCTOR ENERGY                              Case No. 5:24-cv-02729-NC
15 LABORATORY CO., LTD.,
                                                     NOTICE OF APPEARANCE BY
16               Plaintiff,                          JEFFREY LIANG FOR DEFENDANTS
                                                     VISIONOX TECHNOLOGY, INC. AND
17        v.                                         VISIONOX AMERICA, INC.
18 VISIONOX TECHNOLOGY, INC.;                        Magistrate Judge: Hon. Nathanael M. Cousins
   VISIONOX AMERICA, INC.; AND                       Courtroom: 5 – 4th Floor
19 NOTHING TECHNOLOGY LTD.,

20                                                   Complaint Filed:    May 7, 2024
              Defendants.
21                                                   Trial Date:         None set

22

23

24

25

26

27

28
                                                -1-                     Case No. 5:24-cv-02729-NC
                              NOTICE OF APPEARANCE BY JEFFREY LIANG FOR DEFENDANTS VISIONOX
                                                 TECHNOLOGY, INC. AND VISIONOX AMERICA, INC.
        Case 4:24-cv-02729-JST Document 20 Filed 07/03/24 Page 2 of 2




 1         PLEASE TAKE NOTICE that Jeffrey Liang of the law firm Sheppard, Mullin, Richter &

 2 Hampton LLP, who is registered for CM/ECF and admitted to the Northern District of California,

 3 enters his appearance of counsel of record on behalf of Defendants Visionox Technology, Inc. and

 4 Visionox America, Inc. in this matter.

 5

 6 Dated: July 3, 2024

 7                                    Respectfully submitted,
 8
                                      SHEPPARD, MULLIN, RICHTER & HAMPTON LLP
 9
10                                    By      /s/ Jeffrey Liang
11                                            Harper Batts (CA 242603)
                                              hbatts@sheppardmullin.com
12                                            Christopher Ponder (CA 296546)
                                              cponder@sheppardmullin.com
13                                            Jeffrey Liang (CA 281429)
14                                            jliang@sheppardmullin.com
                                              1540 El Camino Real, Suite 120
15                                            Menlo Park, California 94025
                                              Telephone: 650.815.2600
16                                            Facsimile: 650.815.2601
17                                            Attorneys for Defendants
18                                            Visionox Technology, Inc. and
                                              Visionox America, Inc.
19

20

21

22

23

24

25

26

27

28
                                              -2-                     Case No. 5:24-cv-02729-NC
                            NOTICE OF APPEARANCE BY JEFFREY LIANG FOR DEFENDANTS VISIONOX
                                               TECHNOLOGY, INC. AND VISIONOX AMERICA, INC.
